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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MARYLAND
                                   SOUTHERN DIVISION

  MARYLAND CHAPTER OF THE SIERRA
  CLUB, et al.,
                     Plaintiffs,
       v.
                                                       Case No.: 8:22-cv-02597-DKC
  FEDERAL HIGHWAY ADMINISTRATION,
  et al.,
                     Defendants.



  UNOPPOSED MOTION FOR EXTENSION OF TIME TO RESPOND TO COMPLAINT

       Defendants Maryland Department of Transportation and James F. Ports, Jr. (the “State

Defendants”), by and through their respective counsel, and pursuant to Local Rule 105.9, respectfully

ask this Honorable Court to extend the deadline for the State Defendants to respond to the Complaint

[ECF 1] by 30 days to December 16, 2022, and in support thereof, state:

       1.      The Complaint was served on the State Defendants on or about October 26, 2022, and

the current deadline for the State Defendants to respond to the Complaint is November 16, 2022. See

Fed. R. Civ. P. 12(a)(1)(A)(i).

       2.      The Complaint was served on the United States attorney on or about October 18, 2022,

and the current deadline for Defendants Federal Highway Administration, Stephanie Pollack, and

Gregory Murrill (the “Federal Defendants”) to respond to the Complaint is December 19, 2022. See

Fed. R. Civ. P. 12(a)(2).

       3.      The interests of judicial economy are best served if the State Defendants’ time to

respond to the Complaint is co-terminus with that of the Federal Defendants.
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       4.      Therefore, the State Defendants request that their time to respond to the Complaint be

extended to December 19, 2022.

       5.      Counsel for the State Defendants have conferred with counsel for the Plaintiffs and

counsel for the Federal Defendants, who do not oppose this motion.

       WHEREFORE, the State Defendants request that this Court enter an order extending the time

for the State Defendants to respond to the Complaint to December 19, 2022.

       A proposed order is attached.


Dated: November 11, 2022                        Respectfully submitted,

                                                BRIAN E. FROSH
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                                                            /s/
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                                               Special Counsel to the Attorney General of
                                               Maryland for Defendants Maryland
                                               Department of Transportation and James
                                               F. Ports, Jr.

                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 11th day of November 2022, a copy of the foregoing was

served on all counsel of record via the Court’s CM/ECF system.

                                                               /s/
                                                    Elizabeth C. Rinehart




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